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                                      UNITED STATES DISTRICT COURT
15                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
17                                             )
      INNOVATION LAW LAB, et al.               )     Civil Action No. 3:19-cv-00807-RS
18
                                               )
19           Plaintiffs,                       )     NOTICE
                                               )
20                                             )
                                               )
21
      Kirstjen NIELSEN, Secretary, U.S.        )
22    Department of Homeland Security, et al., )
                                               )
23           Defendants.                       )
                                               )
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     NOTICE
     Innovation Law Lab v. Nielsen,
     Case No. 3:19-cv-0807-RS
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 1
                                                  NOTICE
 2
               Counsel for Defendants are informed by the Department of Homeland Security that returns
 3
     to Mexico through the Calexico port of entry have commenced, consistent with 8 U.S.C.
 4
 5   § 1225(b)(2)(C). Like the other returns at issue in this case—which occurred through the San

 6   Ysidro port of entry—these returns occur in the Southern District of California. This development
 7
     does not affect the pending motions in this case.
 8
 9
10   Date: March 18, 2019                          Respectfully submitted,

11                                                 JOSEPH H. HUNT
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                                                   /s/ T. Benton York
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     NOTICE
     Innovation Law Lab v. Nielsen,                      1
     Case No. 3:19-cv-0807-RS
                    Case 3:19-cv-00807-RS Document 58 Filed 03/18/19 Page 3 of 3




                                        CERTIFICATE OF SERVICE
 1
 2             I hereby certify that on March 18, 2019, I electronically filed the foregoing document

 3   with the Clerk of the Court for the United States Court for the Northern District of California by
 4
     using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be
 5
     accomplished by the CM/ECF system.
 6
 7                                    By: /s/ T. Benton York
                                      T. Benton York
 8                                    Trial Attorney
                                      United States Department of Justice
 9                                    Civil Division
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     NOTICE
     Innovation Law Lab v. Nielsen,                     2
     Case No. 3:19-cv-0807-RS
